             Case 4:05-cr-40049-JPG                     Document 121 Filed 05/08/06                  Page 1 of 6       Page ID
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             Shcel I




                                                  Southern District of Illinois
         UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                             v.
                                                                    Case Number:                       05-40049-001-JIF
            TEREKCE R. LAUGHHUNN
                                                                    USM Number:                        06734-025

                                                                    Grant .I.Shostak
                                                                    Deikndliict's Attomcy
THE DEFENDANT:
B pleaded guilty to count(s)
-

- pleaded nolo contendere to count(s)
  which was accepted by the coua.
- was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                      Offense Ended
21 :841(a)(1) and 841(b)        Conspiracy to Manufachre & Distribute More Than 500 Grams              June 30,2005                1
(l)(A) and 21346                of Methamphetamine




       The defendant is sentenced as provided in pages 2 through         6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)

- Count(s)                                               -
                                                         U is    are dismissed on the motion of the United States.




                                                                    G. Patrick Murphy, Chief Judge
                                                                    Name and Title of Judge
              Case 4:05-cr-40049-JPG                     Document 121 Filed 05/08/06                      Page 2 of 6      Page ID
A 0 2458     (Rev 06i05) ludgmcnr i n Crlmlnal Case                #277
             Shcer 2 - lnrprisonmenr
                                                                                                           Judgment P a g e 2of        6
1)EFENIlAh;T:                   Terence R. 1.aughhunn
CASE NUMBER:                    05-40049-00 1 -JI,F



                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisoiis to be imprisoned for a
total term of:

240 months




     -
     0       The court makes the following recommendations to the Bureau of Prisons.
             that the defendant be allowed to participate in the U.S.B.P.'s Intensive Drug Treatment Program and that he
             serve his sentence as close as possible to Richview, Illinois.



     -
     €4      The defendant is remanded to the custody of the United States Marshal.

     -
     0       The defendant shall surrender to the United States Marshal for this district:
             0 at
             -                                          0 a.m.
                                                        -          [3 p.m.       on

             0 as notified by the United States Marshal.
             -

     -
     0       Tbe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             0 before 2 p.m. on
             -
             0 as notified by the United States Marshal.
             -
             0 as notified by the Probation or Pretrial Services Office.
             -

                                                                       RETURN
I have executed this judgment as follows:




             Defendant delivered                                                              to

a                                                         , with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                               BY
                                                                                                      DEPUTY UNITED SiATES MARSIIAI.
                 Case 4:05-cr-40049-JPG                      Document 121 Filed 05/08/06                 Page 3 of 6         Page ID
                                                                       #278
A 0 2.1513      (Rcv. 06/05) J~idgineolin a Crinrinal Case
                Sheet 3    S~iorrviscdRelease
                                                                                                             Judgrnei,i- Page & of                6
DEFENDANT:
CASE NUMBER:
                                  Terence R. Lauehhunn
                                  05-40049-00 1-JLF
                                                       -
                                                              SUPERVISED RELEASE
Upoil release from imprisonment, the defendant shall be on supervised release for a term of :

10 years


     The defendant must repolt to the probatioi~office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refiain from any unlawful use of a controlled
substance. The defendant shall suimit to one dmg test withi! 15 days of release from in~prisomnentand at least two periodic drug tests
thereafter, as determined by the court, not to exceed 52 tests in a one year period.

-         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

-         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

-         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

-
Ci        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check. if applicable.)

-
Ci        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitntion, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of this judgment.
     The defendant must comply withthe standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                        STANDARD CONDITIONS OF SUPERVISION
     1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
             each month;
   3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)        the defendant shall support his or her dependents and meet other family responsibilities;
             the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schoolu~g,training, or other
             acceptable reasons;
             the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;



             the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
             the defendant shall not associate with any persons e n r g e d incrimjnal activity and shall not associate with any persorconvicted of a
             felony, unless granted permission to do so by the pro ation otficer,
             the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
             the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
             the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
             as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or           history or characteristics and shall permit the probation officer to make such notifications and to confim~the
             defendant s compliance with such notification requirement.
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                                                                 #279
A 0 2458   (Rev. 06/05) ludgn~cntill a Criminal Case
           Sheet 3C - - Suprwised Relcasc
                                                                                       Judgment - Page 4of   6
DEFENDANT:                 Terence R. Laughhunn
CASE NUMBER:               05-40049-001-JLF

                                         SPECIAL CONDITIONS OF SUPERVISION

The defendant shall pay any financial penalty that is imposed by this judgment, and that
remains unpaid at the commencement of the term of supervised release. The defendant shall
pay the fine in installments of $25.00 per month or 10Y0 of his net monthly income, whichever
is greater.
The defendant shall provide the probation officer and the Financial Litigation Unit of the
United States Attorneys' Office with access to any requested financial information. The
defendant is advised that the probation office may share financial information with the
Financial Litigation Unit.
The defendant shall apply all monies received from income tax refunds, lottery winnings,
judgments, andlor any other anticipated or unexpected financial gains to the outstanding court-
ordered financial obligation. The defendant shall immediately notify the probation officer of
the receipt of any indicated monies.
The defendant shall participate as directed and approved by the probation officer in treatment
for narcotic addiction, drug dependence, which includes urinalysis or other drug detection
measures and which may require residence and/or participation in a residential treatment
facility. Any participation will require complete abstinence from all alcoholic beverages. The
defendant shall pay for the costs associated with substance abuse counseling and/or testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall
never exceed the total costs of counseling.
The defendant shall participate in a program of mental health treatment, to address issues
surrounding domestic violence and physical aggressiveness. The defendant shall participate in
treatment as directed by the probation officer, until such time as the defendant is released from
the program by the probation officer.
The defendant shall submit his person, residence, real property, place of business, computer,
or vehicle to a search, conducted by the United States Probation Officers at a reasonable time
and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition of supervision. Failure to submit to a search may be grounds for
revocation. The defendant shall inform any other residents that the premises may be subject
to a search pursuant to this condition.
             Case 4:05-cr-40049-JPG                        Document 121 Filed 05/08/06                       Page 5 of 6         Page ID
                                                                     #280
4 0 2458   (Rev 06/05) J u d g m c ~ in
                                     ~ t a Criminal Cast
           Sheet 5 C r i m i n a l Monelaty Penallies
                                                                                                         Jlldgtnsnt -- Page   5of               6
DEFENDANT:                            Terence R. Laughhunn
CASE NUMBER:                          05-40049-00 1-JLF
                                                   CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                        Assessment                                            -
                                                                              Fine                                Restitutioii
TOTALS              $ 100.00                                                $ 750.00                          $ NIA



CI   Tlie determination of restitution is deferred until         -. An Amenrlrd Jlrdgment in a Criminal Cuse(A0245C) will be entered
     after such detemination.

0
-    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximate1 pro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment columnxelow. However, pursuant to 1 8 % . ~ . 8 S;. 36648). all nonfederal victims must be paid
     before the Cnited States is pa~d.

Name of Payee                                      Total Loss*                         Restitution Ordered                    Priority or Percentaee




TOTALS                                  $                             0           $                           0


o
-     Restitution amount ordered pursuant to plea agreement $

o
-     l'he defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

m
-     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      a
      -    the interest requirement is waived for the                fine     g       restitution

      -
      0    the interest requirement for the     g fine g restitution is modified as follows:
           * Findings for the total amount of losses are requiredunder Chapters 109A. 110, 110A, and 1 13A of Title 18 for offenses committed
           oil or after September 13, 1994, but before April 23, 1996.
             Case 4:05-cr-40049-JPG                      Document 121 Filed 05/08/06                    Page 6 of 6       Page ID
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A 0 245B   ( R e v 06/05) Judgmenl i n a Crimi~~al
                                                Case
           Slleel6     Schedule of Paymenls

                                                                                                           Judbmnt    Page 6of                 6
DEFENDANT:                   Terence R. Laughhunn
CASE NIJMBEK:                05-40049-001-JLF

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ij    Lump sum payment of $                               due immed~ately,balance due

           0
           -     not later than                                     , or
           0
           -     in accordance           17    C,      17 D,   ij     E, or     17 F below; or
B    g     Payment to begin immediately (may be combined with                 17 C,    0 D, or
                                                                                       -             g F below); or
C     g Payment inequal                           (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     g    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     g Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     -
      i~   Special instructions regarding the payment of criminal monetaqn penalties:
           Payments are due immediately, through the Clerk of the Court, but ma be paid from prison earnings in con~pliancewith
           the Inmate Financial Respons~bilityProgram. Any financial penalties tgat remain un aid a t the commencement of the
                                                                                                            P
           term of supervised release shall be paid at the rate of $25.00 per month, or 10"A of de endant's monthly net earnings,
           whichever is greater.



Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ment of criminal monetary penalties is due durin
                                ii                                                               K
imprisonment. All cr~mina monetar penalties, except those payments made throug ti;e Federal Bureau of Pr~sons'lnmate Fmanc~a
Responsibility Program, are made to &e clerk of the court.
                                                                                                                                                   ?
The defendant shall receive credit for all payments previously made toward any criminal monetaty penalties imposed



0
-     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




0
-     The defendant shall pay the cost of prosecution.
0
-     The defendant shall pay the following court cost(s):
0
-     The defendant shall forfeit the defendant's interest in the following property to the United States:
